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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                  Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                        Phone: (312) 435-5850
             Chicago, Illinois 60604                              www.ca7.uscourts.gov




 March 16, 2018

By the Court:


                                         KURT JOHNSON,
                                         Petitioner - Appellant

 No. 18-1464                             v.

                                         TODD SLOOP,
                                         Respondent - Appellee

  Originating Case Information:

 District Court No: 3:17-cv-01010-DRH
 Southern District of Illinois
 District Judge David R. Herndon


Upon consideration of the RULE 42(b) VOLUNTARY DISMISSAL, filed on
March 15, 2018, by the pro se appellant,

IT IS ORDERED that this case is DISMISSED, pursuant to Federal Rule of Appellate
Procedure 42(b).


 form name: c7_FinalOrderWMandate(form ID: 137)
